Exhibit E
From:              Schollmeier, Betsy J (DHS)
To:                Glaser, David
Cc:                Sertich, Manda
Subject:           RE: NUWAY: I know you are dealing with a HUGE crisis, but I am hoping I can still get your attention for a
                   moment
Date:              Tuesday, February 4, 2025 8:51:01 AM



                                        CAUTION: EXTERNAL E-MAIL


Good morning, David –

Thank you for your email. I want to be transparent that the purpose of the meeting today is not
to discuss the payment withhold itself. DHS intends to move forward with the current effective
date, which will stop payments to NUWAY intensive outpatient treatment programs. As you
know, when DHS determines independently or is informed by its state and federal law
enforcement partners that there is a credible allegation of fraud, it must withhold further
Medicaid payments unless a good cause exception is identified. The delays previously
imposed were with the hopes that NUWAY would resolve its potential litigation with the USAO,
which necessarily would include ceasing practices which have been identified as violating the
Medicaid laws. I understand you and attorneys for the federal government and MFCU have
discussed these practices and that a settlement has not been reached.

From your representations, client care is your top concern, which is our focus for this meeting.
We look forward to discussing NUWAY’s plan to ensure clients can be provided access to
ongoing care or transition to providers who can fill that need once the payment withhold is in
place.

I will follow up on the data request for a status. Here is the statement provided by the
Department in response to the news story that was recently published on KARE11:

           Background for attribution to the department
           The Minnesota Government Data Practices Act carefully safeguards the integrity
           of DHS investigations and classifies open investigations as confidential with
           limited exception. DHS generally cannot confirm or deny the existence of an
           investigation and can only disclose the existence of a DHS investigation if doing
           so will not compromise the investigation.

           After careful review, DHS is able to confirm the existence of an investigation
           regarding Nuway. Because it is an open and ongoing investigation we cannot
           disclose any additional information at this time.

           Minnesota does not currently have an anti-kickback law for Medicaid providers.
           The governor’s anti-fraud package announced last week includes an anti-
        kickback proposal. It mimics current federal law by making it illegal for service
        providers to financially incentivize clients or other entities to send them clients
        and gives the Attorney General’s Office authority to pursue criminal charges.

        If you have questions about the federal anti-kickback law or related
        investigations, you should contact HHS.

        The governor’s anti-fraud package also tightens regulations on SUD providers,
        including requiring 15-minute billing increments.

        Statement from Human Services Commissioner Jodi Harpstead
        “It’s indefensible when providers use loopholes in state law to circumvent the
        rules while using the people we are trying to help as a shield to avoid punishment.
        We are working closely with state and federal partners as part of this work to
        ensure that taxpayers pay only for legitimate services.”

        “Medicaid programs and services help Minnesotans access medical care,
        treatment and other vital services. We know the work that providers do is critical
        to the health and wellbeing of clients. To ensure that providers continue to
        provide services in line with federal requirements, DHS has proposed an anti-
        kickback provision in the anti-fraud package that will make it illegal for providers
        to financially incentivize clients or others to receive services. This will align with
        federal law.”

Thank you and we’ll see you at 11am.

Thanks,
Betsy

From: Glaser, David <dglaser@fredlaw.com>
Sent: Monday, February 3, 2025 7:23 PM
To: Schollmeier, Betsy J (DHS) <betsy.schollmeier@state.mn.us>
Cc: Sertich, Manda <msertich@fredlaw.com>
Subject: RE: NUWAY: I know you are dealing with a HUGE crisis, but I am hoping I can still get your
attention for a moment


Betsy, I know you have only been involved in this since October, but DHS has been
threating a payment suspension for a year. Over that time we have regularly
offered/asked to meet with the Department so we can hear the agency’s concerns and
offer our explanation. (For example, on the housing front, the fact that the Department
was totally aware of the arrangement since at least 2019.) Over that year we haven’t
been allowed a single meeting to talk with the Department, nor have we even heard the
Department’s concerns. It feels like before imposing a payment suspension that is
effectively a death penalty, policy considerations, (making sure that patients aren’t
unnecessarily separated from their therapists and housing) if not basic fairness, would
require the Department to carefully consider all of the facts.

Are we going to get that opportunity?

Finally, I do want to know the status of the two data practices requests. And while it fits
within one of the requests, I would like to request a copy of the former Commissioner’s
statement to KARE11 that referred to a “loophole.” Thanks so much!!

David



From: Schollmeier, Betsy J (DHS) <betsy.schollmeier@state.mn.us>
Sent: Monday, February 3, 2025 5:44 PM
To: Glaser, David <dglaser@fredlaw.com>
Cc: Sertich, Manda <msertich@fredlaw.com>
Subject: RE: NUWAY: I know you are dealing with a HUGE crisis, but I am hoping I can still get your
attention for a moment


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The purpose from DHS’ perspective is to understand NUWAY’s intentions for its operations in
the coming weeks with the payment withhold date looming. I have referred your question
regarding the Bond to our PIO Division, but at an initial review, we are not seeing any legal
authority for application of a bond.

I have had brief discussions with our USAO and MFCU partners who have shared that a
settlement agreement has not been reached. DHS is not entertaining another extension of the
payment withhold at this time and is interested in understanding what steps NUWAY is
considering to ensure clients can receive care and housing and maintain licensing compliance
going forward.

Thank you,
Betsy

From: Glaser, David <dglaser@fredlaw.com>
Sent: Monday, February 3, 2025 5:19 PM
To: Schollmeier, Betsy J (DHS) <betsy.schollmeier@state.mn.us>
Cc: Sertich, Manda <msertich@fredlaw.com>
Subject: Re: NUWAY: I know you are dealing with a HUGE crisis, but I am hoping I can still get your
attention for a moment


Howdy. He will. As will Monique Bourgeois and Angela Hanson. My apologies. I thought
you got a notice when I forwarded the invite!

I am a bit worried that the call tomorrow may be more about what happens if the
payment suspension takes effect. Am I wrong? I think it is really, really important we
have a chance to talk about how to keep NUWAY operating. Is that part of tomorrow’s
agenda?

Thanks.

David



David Glaser
Fredrikson & Byron, PA
612-492-7143

Sent from my iPhone




        On Feb 3, 2025, at 5:11ௗPM, Schollmeier, Betsy J (DHS)
        <betsy.schollmeier@state.mn.us> wrote:


                                 CAUTION: EXTERNAL E-MAIL


        Hi David and Manda –

        Just following up to verify whether Ken Roberts will be able to join the call
        tomorrow? To discuss licensing issues, having the Authorized Agent present is
        necessary to discuss any licensing implications.

        Thanks,
        Betsy
From: Glaser, David <dglaser@fredlaw.com>
Sent: Friday, January 31, 2025 12:10 PM
To: Schollmeier, Betsy J (DHS) <betsy.schollmeier@state.mn.us>
Cc: Sertich, Manda <msertich@fredlaw.com>
Subject: RE: NUWAY: I know you are dealing with a HUGE crisis, but I am hoping I can
still get your attention for a moment


Hi. Were you thinking in person (happy to make that work, either hosting or
coming somewhere) or online?

Tuesday we can do 945-12 or after 130. You mentioned Monday afternoon
too. After 130 works for us. Please let us know your preferences, and thank
you so much for your willingness to meet!

David

From: Schollmeier, Betsy J (DHS) <betsy.schollmeier@state.mn.us>
Sent: Friday, January 31, 2025 8:26 AM
To: Glaser, David <dglaser@fredlaw.com>
Cc: Sertich, Manda <msertich@fredlaw.com>
Subject: RE: NUWAY: I know you are dealing with a HUGE crisis, but I am hoping I can
still get your attention for a moment


                          CAUTION: EXTERNAL E-MAIL


Good morning, David;

Thank you for reaching out and my apologies for the delay in a response. I also
understand there are ongoing conversations between NUWAY and the USAO, so I
look forward to hearing more about the outcome of those negotiations.

DHS is very much invested in finding a solution in light of the pending effective
date of the payment withhold. Our licensing and SUDT policy staff would like to
set up a meeting with NUWAY, ideally this coming Monday afternoon or on
Tuesday, to discuss next steps to ensure client continuity of care. At this point,
DHS is not representing that there will be any changes to the current payment
withhold notice, but we recognize NUWAY and DHS have the same goal: to ensure
clients are not left without housing or treatment.

Would there be a time on Tuesday, February 4 that works for you and NUWAY to
meet for this discussion? I can extend a Teams invite to those you’d like to be a
part of the meeting. The only time on Tuesday that I’m aware of that would not
work is 10am-11am.

If Tuesday is impossible, let me know and we can figure out another time that best
works for everyone.

Thank you and I look forward to hearing from you,

Betsy Schollmeier
Chief Legal Counsel
OIG Legal Counsel’s Office
Pronouns: (she/her)

Office of Inspector General
Minnesota Department of Human Services
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Saint Paul, MN 55164-0953
O: 651-431-6577
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mn.gov/dhs
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From: Glaser, David <dglaser@fredlaw.com>
Sent: Thursday, January 30, 2025 5:58 PM
To: Schollmeier, Betsy J (DHS) <betsy.schollmeier@state.mn.us>; Johnson, Thomas S
(DHS) <thomas.s.johnson@state.mn.us>; Fee, Mary (GOV) <Mary.Fee@state.mn.us>
Cc: Sertich, Manda <msertich@fredlaw.com>; Drucker, Jeremy (MMB)
<Jeremy.Drucker@state.mn.us>; Parker, Kevin (GOV) <Kevin.Parker@state.mn.us>
Subject: RE: NUWAY: I know you are dealing with a HUGE crisis, but I am hoping I can
still get your attention for a moment


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   Services Security Operations Center.
Hi. I know you are super busy but I am following up on my note from Tuesday
because unless the payment suspension is lifted NUWAY will cease to exist.
(Jeremy and Kevin, you were not included on my original note, but it appears
below.) I suspect you are aware of the KARE11 story that came out today.
Now that NUWAY staff are all fully aware of the upcoming payment
suspension, the rush to find new jobs has begun. An organization that is
about to lose the bulk of its revenue is not viable.

NUWAY is willing to try to reach a settlement that would result in getting
some money back to the state. If the payment suspension is imposed, that
won’t happen, AND people in treatment will suffer.

I would welcome a chance to talk with you about possible solutions to this.
In the meantime I just want to stress one point. There has been a lot of high
profile fraud against DHS. People have billed for services not provided. That
is NOT the case with NUWAY. There are two allegations, the housing subsidy
NUWAY pays to independent recovery residences, and the billing for multiple
billing sessions on one day. As the KARE11 reporter noted, there can be no
doubt that DHS was fully aware of NUWAY’s housing program. That should
not be the basis of a payment suspension. As for the billing, I totally
understand the argument that NUWAY should have chosen to bill differently,
but as a lawyer, I feel strongly that the way the billed was consistent with
DHS’ instruction prior to the September 2024 change. Perhaps most
importantly, they weren’t doing anything to hide their practice; records
accurately described exactly what was going on. BCBS audited NUWAY, and
at the end of the audit concluded that no action was necessary.

I recognize that you may disagree with my assessment on the billing issue.
But assuming I am wrong, the question is “what penalty should NUWAY
face?” If you believe that they should face the death penalty, then the
payment suspension makes sense. But if you believe that there is ANY
alternative remedy short of the death penalty that is appropriate, please lift
the payment suspension so we can reach that resolution because when 90
percent of your patients are Medicaid recipients, a Medicaid payment
suspension is the death penalty.

Thanks for your consideration.
David




From: Glaser, David
Sent: Tuesday, January 28, 2025 4:23 PM
To: Schollmeier, Betsy J (DHS) <betsy.schollmeier@state.mn.us>; Johnson, Thomas S
(DHS) <thomas.s.johnson@state.mn.us>; Fee, Mary (GOV) <mary.fee@state.mn.us>
Cc: Sertich, Manda <msertich@fredlaw.com>
Subject: NUWAY: I know you are dealing with a HUGE crisis, but I am hoping I can still
get your attention for a moment


Good afternoon. I know that the Federal payment issues have to be taking up
all of your attention right now, so I feel bad sending this, but we are about to
hit a cliff for NUWAY that is existential. There is a new payment suspension
set to take effect February 21. NUWAY has to decide now if it is shutting
down (the IOP funds help fund residential, so if there is no IOP payment,
there isn’t really a path forward for the organization) or continuing.

I don’t know if we are going to be able to reach a quick settlement with the
Federal Government or the case will go to litigation. Litigation is certainly
possible. But I know this:

IF THERE IS A PAYMENT SUSPENSION IMPOSED, THE STATE WILL
EFFECTIVELY GET NOTHING. IF THE STATE WITHDRAWS THE PAYMENT
SUSPENSION, EITHER NUWAY WILL PREVAIL IN LITIGATION, IN WHICH
CASE THE SUSPENSION SHOULD NEVER HAVE BEEN IMPOSED, OR THE
GOVERNMENT WILL PREVAIL, AND THE STATE WILL GET MONEY.

In other words, the worst outcome for the state is imposing a payment
suspension; withdrawing the suspension gives the state the possibility of a
significant recovery and can’t yield a result worse that imposing the
suspension.

And that doesn’t even factor in the very real human cost of losing NUWAY.

The state can, with s stroke of a pen, avoid a situation that will take 1,000
people in recovery and send them out to find new care, and also increase the
chances that the state coffers will see money. One might think that the
payment suspension is low risk, but if NUWAY has to close, its remaining
funds will be spent paying staff to shut down leaving nothing to recover. The
payment suspension is the highest risk path for the state.

I was going to propose that the 3 of us try to have a quick conversation. I
suspect that actions by the Federal Government make that nearly
impossible, but if you have the time, I would welcome that chance.

I will close by begging you, not as a counsel for NUWAY, but as a parent of a
child in recovery, to withdraw the payment suspension and allow the legal
dispute to play itself out. Please help us avoid a very real human real cost
that is totally preventable. Thanks for your consideration. Obviously, time is
of the essence here. I know you are busy, but if you could let me know your
thoughts I would appreciate it.

David

David Glaser
Shareholder
Chair - Health Care Fraud & Compliance
dglaser@fredlaw.com

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